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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




TIKTOK INC., et al.,

                       Plaintiffs,

      v.                                     Case No. 20-cv-02658 (CJN)
DONALD J. TRUMP, in his official capacity
as President of the United States, et al.,

                       Defendants.




           SUPPLEMENTAL MEMORANDUM IN SUPPORT OF PLAINTIFFS’
               RENEWED MOTION FOR PRELIMINARY INJUNCTION
              AGAINST COMMERCE DEPARTMENT PROHIBITIONS 2-5
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       The Court should grant Plaintiffs’ renewed motion for a preliminary injunction (ECF

No. 43) notwithstanding the Eastern District of Pennsylvania’s nationwide preliminary injunction

enjoining the Remaining Prohibitions. See Marland v. Trump, No. CV 20-4597, 2020 WL

6381397, at *14 (E.D. Pa. Oct. 30, 2020). As the Court previously concluded, Plaintiffs face

irreparable harm from the Prohibitions and the prospect that they will go into effect. See ECF No.

30 at 15-16. Plaintiffs continue to face this risk of harm because the Marland preliminary

injunction, which was issued in a case involving distinct plaintiffs and claims, could be lifted at

any time. Under these circumstances, courts “routinely grant follow-on injunctions.” Whitman-

Walker Clinic v. HHS, --- F. Supp. 3d ----, No. CV 20-1630 (JEB), 2020 WL 5232076, at *41

(D.D.C. Sept. 2, 2020); see also Nw. Immigrant Rights Project v. USCIS, No. CV 19-3283 (RDM),

2020 WL 5995206, at *31 (D.D.C. Oct. 8, 2020).1

       First, the Marland preliminary injunction does not remove the likelihood of irreparable

harm because the users of TikTok who are plaintiffs in Marland are differently situated, alleged

different harms, and brought different claims under the law of a different circuit. In such cases,

a follow-on injunction is warranted because “the Court cannot conclude that a stay or decision

on the merits from the [Third] Circuit (or the Supreme Court) would resolve this case.” Nw.

Immigrant Rights, 2020 WL 5995206, at *31. Moreover, if the Court adopted the government’s

position “that an order granting a nationwide, preliminary injunction in one district [is] sufficient


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  See also California v. HHS, 390 F. Supp. 3d 1061, 1065–66 (N.D. Cal. 2019) (“Accordingly,
because of the routine basis upon which federal courts grant parallel injunctions and the immediacy
of the harm were the nationwide injunction to be lifted, the Court finds that these arguments do
not preclude granting a preliminary injunction.”); Cook Cty. v. McAleenan, 417 F. Supp. 3d 1008,
1030 (N.D. Ill. 2019) (granting preliminary injunction because “[n]either the parties nor this court
have any power over or knowledge of whether and, if so, when those two [earlier] preliminary
injunctions will be lifted or modified”); Mayor & City Council of Balt. v. Azar, 392 F. Supp. 3d
602, 618–19 (D. Md. 2019) (ordering “overlapping” injunction even though nationwide injunction
had been issued in earlier case, and rejecting argument that there was no irreparable harm); Batalla
Vidal v. Nielsen, 279 F. Supp. 3d 401, 435 (E.D.N.Y. 2018) (same).


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to shut down all other, similar litigation, the resolution of important questions would be left to a

single district court and to a single circuit, losing the benefit of the ‘airing of competing views’

on difficult issues of national importance.” Id. (quoting DHS v. New York, 140 S. Ct. 599, 600

(2020) (Gorsuch, J., concurring in the grant of stay)). Indeed, the court in Marland issued a

preliminary injunction based on the explicit assumption that its “decision is unlikely to

prematurely stifle litigation in these forums which have before them factually distinct, albeit

contextually related, cases,” including this one. 2020 WL 6381397, at *14.

       Second, the Marland preliminary injunction is, by definition, temporary. It may be lifted

at any moment, or vacated on appeal, leaving TikTok’s entire business in jeopardy. “Even a

temporary lag between the lifting of that injunction … and entry of an injunction by this Court

would likely entail some irreparable harm to Plaintiffs.” Whitman-Walker Clinic, 2020 WL

5232076, at *41 (quotations and alteration omitted); see also California, 390 F. Supp. 3d at 1066

(“Were [Plaintiff] to no longer be covered by the [earlier] injunction, it could sustain irreparable

harm immediately, before the Court could decide the merits of its claims.”). Defendants have

“not committed to stand down in the parallel litigation, leaving the prospect that the injunction

in that case could be stayed or set aside by the [Third] Circuit (or the Supreme Court).” Nw.

Immigrant Rights, 2020 WL 5995206, at *31; see California, 390 F. Supp. 3d at 1066 (Plaintiffs’

“injury is sufficiently imminent because though the [regulations] are currently enjoined, the Third

Circuit could alter the injunction at any moment.”). This “injury, although contingent on the

nationwide injunction in [Marland] being dissolved, is not speculative.” California, 390 F. Supp.

3d at 1066. Courts routinely find likely irreparable harm even where it is contingent on a future

event over which the plaintiff has no control. See, e.g., League of Women Voters v. Newby, 838

F.3d 1, 8-9 (D.C. Cir. 2016) (finding irreparable harm where it was unclear whether challenged




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statute was being enforced because “a preliminary injunction requires only a likelihood of

irreparable injury, [so] Damocles’s sword does not have to actually fall on all [plaintiffs] before

the court will issue an injunction.”); Boardman v. Pac. Seafood Grp., 822 F.3d 1011, 1023 (9th

Cir. 2016) (granting preliminary relief to preserve the status quo where defendants could

terminate an agreement with 60 days’ notice, which would result in the plaintiffs suffering

“irreparable harm before a trial on the merits could be held.”). If the Marland injunction is lifted

any time after November 12, 2020, and there is not a preliminary injunction from this Court, the

Remaining Prohibitions would require TikTok to shut down, which would destroy TikTok’s user

base and deprive TikTok of its First Amendment rights, while it seeks relief from this Court.

       Plaintiffs are aware of cases taking a different approach and deciding instead to

temporarily stay resolution of a pending motion for a preliminary injunction pending the outcome

of appeals of earlier, overlapping injunctions. See, e.g., Pars Equality Center v. Trump, No. 17-

cv-0255 (TSC), ECF No. 84, at *2 (D.D.C. May 11, 2017); Washington v. Trump, No. 17-0141,

2017 WL 4857088, at *5-7 (W.D. Wash. Oct. 27, 2017).2 But more recent decisions in this

district have declined to follow those cases and issued injunctions where, as here, “the relevant

out-of-circuit injunction could be stayed, modified, or otherwise vacated at any time.” Whitman-

Walker Clinic, 2020 WL 5232076, at *41; see Nw. Immigrant Rights, 2020 WL 5995206, at *31.

       The Court should accordingly decide Plaintiffs’ renewed motion for preliminary

injunction notwithstanding the Marland injunction.




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  If the Court is inclined to follow this approach, Plaintiffs request that the Court hold Plaintiffs’
motion in abeyance pending further proceedings related to the existing nationwide preliminary
injunction and grant Plaintiffs’ motion if the Marland injunction is lifted, stayed, or otherwise
modified to allow the Remaining Prohibitions to take effect.


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DATED: November 6, 2020                Respectfully submitted,

                                         /s/ John E. Hall          .

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